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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MARYLAND

DEREK J. HARVEY,                           *

       Plaintiff,                          *

       v.                                  *             Civil Action No. RDB-20-3068

CABLE NEWS NETWORK, INC.,                  *

       Defendant.                          *

*      *        *     *      *      *      *  *          *         *   *         *    *
                                          ORDER

    For the reasons stated in the foregoing Memorandum Opinion, it is HEREBY
ORDERED this 31st Day of March, 2021 that:
    1. Defendant Cable News Network, Inc. shall be awarded fees, costs, and expenses for
       the filing of the Motion to Dismiss (ECF No. 39) pursuant to 28 U.S.C. § 1927 and
       this Court’s inherent authority;

    2. Defendant Cable News Network, Inc. shall reference the guidelines regarding hourly
       rates established by Appendix B of the Local Rules of this Court and submit a brief
       detailing those fees, costs, and expenses incurred from March 4, 2021 to the present
       no later than April 7, 2021;

    3. Plaintiff Harvey and his counsel may respond to the monetary amount sought for
       those fees, costs, and expenses incurred by the Defendant no later than April 14,
       2021;

    4. The Clerk of the Court shall transmit a copy of this Order to counsel of record.




                                                             /s/
                                                  Richard D. Bennett
                                                  United States District Judge
